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UNITED STATES DISTRICT COURT MIDDLE
DISTRICT OF FLORIDA
TAMPA DIVISION

IN ADMIRALTY

GEICO Marine Insurance Company Case No.:
Plaintiff,

Vs.

Daniel Peretz, Candice E. Forbes, Evan M.
Saunders, Stacy Sanchez, Jeffrey Xavier Hartsoe,
Jerry Lee Garrett, John Sennett, Krystal Brazel,
Lynn Roca, Rachel Sheldon, Samantha M. Spaeth,
and Shayla Nicolatos,

Defendants.

/
COMPLAINT FOR DECLARATORY JUDGMENT
Plaintiff, Geico Marine Insurance Company (“GEICO Marine”),

through undersigned counsel, sues the Defendant, Daniel Peretz, (“Peretz”
or “Defendant”), Candice E. Forbes, Evan M. Saunders, Stacy Sanchez,
Jeffrey Xavier Hartsoe, Jerry Lee Garrett, John Sennett, Krystal Brazel, Lynn

Roca, Rachel Sheldon, Samantha M. Spaeth and Shayla Nicolatos, (the
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“Passenger Defendants”), for declaratory judgment pursuant to the Federal

Declaratory Judgment Act, 28 U.S.C. § 2201, and alleges as follows:

1. | GEICO Marine files this suit to obtain a judicial determination
and declaration of the parties’ rights and obligations under Policy
CBT'1009677 issued by GEICO Marine to Peretz for the policy period from
June 8, 2020 to June 8, 2021 (the “Policy”).

2. Specifically, GEICO Marine seeks a declaration that the Policy is
void and does not provide coverage for claims asserted by the Defendant for
damage to his 1975 41 foot Morgan Sailboat bearing Hull Identification
Number MRY21001M77B (the “Vessel”).

3. GEICO Marine further seeks a declaration that the Policy is void
and does not provide coverage for any bodily injury or property damage
claims asserted by the Passenger Defendants.

4. The Policy attached to this complaint as Exhibit “A” is a true and
correct copy of the Policy issued to the Defendant.

5. Defendant claims that the Policy provides coverage for damage

to his Vessel and for claims asserted against him by the Passenger

Defendants.
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6. GEICO Marine contends that the Policy is void and does not

provide coverage for such claims.

7. There is actual and justiciable controversy between GEICO

Marine and the Defendants involving their respective rights and liabilities

under the Policy.
8. This matter is now ripe for adjudication.
THE PARTIES
9. GEICO Marine is an insurance company authorized to transact

insurance business in the State of Florida.

10. Defendant is the named insured in the Policy and resides in St.
Petersburg Beach, Florida.

11. Defendants, Candice E. Forbes, Evan M. Saunders, Stacy
Sanchez, Jeffrey Xavier Hartsoe, Jerry Lee Garrett, John Sennett, Krystal
Brazel, Lynn Roca, Rachel Sheldon, Samantha M. Spaeth and Shayla

Nicolatos (the “Passenger Defendants”) were all passengers on the Vessel on

July 21, 2020.
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JURISDICTION AND VENUE

12, This case falls within the Court’s admiralty and maritime
jurisdiction pursuant to 28 U.S.C. § 1333 because marine insurance policies,
like the Policy GEICO Marine issued to Defendant, are maritime contracts.

13. GEICO Marine designates this an admiralty and maritime claim
within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

14. The Policy contains a choice of law clause which identifies the
controlling law as the “maritime law of the United States.”

15. Maritime law controls the disposition of the claims asserted in
this case.

16. Venue is proper in this district because the Defendant resides in
this district and is subject to personal jurisdiction and service of process in
this district.

17. Venue is also proper in this district because the incident

described below which gives rise to this action occurred in this district.
FACTS AND RELEVANT POLICY PROVISIONS

18. GEICO Marine issued the Policy to the Defendant on April 16,

2020.
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19. The Vessel is a federally documented vessel with the U.S. Coast
Guard and has been assigned Official Number 579423.

20. The Vessel was purchased by Boating At The Pier, LLC, a Florida
Limited Liability Company, on December 9, 2013.

21. The manager members of Boating At The Pier, LLC, include the
Defendant, Terry Porter and Tom Koscica.

22. Boating At The Pier, LLC owns the Vessel.

23. The Vessel is not owned by the Defendant individually.

24. On March 1, 2020, Boating At The Pier, LLC entered a bareboat
charter agreement with Wanderlust Offshore, LLC d/b/a Suncoast Sailing.

25. The bareboat charter agreement provides Wanderlust Offshore,
LLC with an option to purchase the Vessel.

26. A true and correct copy of the bareboat charter agreement is
attached to this complaint as Exhibit “B”.

27. On July 21, 2020, the Vessel was chartered for a sunset cruise.

28. The Vessel was under the command of Captain David Kosky, an
employee of Wanderlust Offshore, LLC.

29. As the Vessel approached the John’s Pass bridge, the Captain

attempted to raise the sails.
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30. Before the Captain could successfully raise the Vessel’s sails, the
outgoing tidal current and winds pushed the Vessel towards the John’s Pass
bridge which had been opened for another vessel.

31. The Vessel’s bow became wedged between the bridge’s fender
and tower structures.

32. The bridge tender lowered the bridge onto the Vessel bending
the mast (the “Incident”).

33. As a result of the Incident, the Vessel sustained damage and
several passengers have asserted claims for bodily injuries.

34. The Passenger Defendants have asserted or may assert injury
claims against the Defendant for injuries they alleged to have sustained
because of the Incident.

35.  Joinder of the Passenger Defendants is necessary to obtain a full
adjudication of the parties’ respective rights and obligations.

COUNT I - UBERRIMAE FIDEI
36. GEICO Marine incorporates and restates the allegations in

paragraph 1 through 35 as if fully set forth herein and further alleges as

follows:
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37. Marine insurance policies like the Policy in this case are subject
to the maritime doctrine of Uberrimae Fidei (the utmost good faith), which
requires an insured to fully and voluntarily disclose to the insurer all facts
material to the insurance risk even if the insurer does not specifically request
the information.

38. In addition to this legal requirement, the Policy expressly states
that “there is no coverage from the beginning of this Policy if you or your
representative or agent has omitted, concealed, misrepresented, sworn
falsely, or attempted fraud in reference to any matter relating to this
insurance before or after any loss.”

39. Defendant falsely represented to GEICO Marine that he was the
titled owner of the Vessel.

40. GEICO marine relied on this representation in issuing the Policy.

41. In addition to the misrepresentation about ownership,
Defendant failed to disclose the following material facts to GEICO Marine:

(a) Defendant failed to identify Boating At The Pier, LLC as the owner

of the Vessel.
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(b) Defendant failed to disclose the bareboat charter-purchase option
agreement between Boating At The Pier, LLC and Wanderlust
Offshore, LLC.

(c) Defendant failed to disclose the identity of the company operating
the Vessel.

(d) Defendant failed to disclose the fact that the Vessel was in the care,
control, and custody of Wanderlust Offshore, LLC. And not the
Defendant.

42. The facts stated above were not known to GEICO Marine when

it issued the Policy.

43. The facts described above were material to the insurance risk.

44, If the facts stated above had been known to GEICO Marine

before the Policy was issued, it would have either declined to issue a Policy
or charged a higher premium.

45. Defendant’s misrepresentation and omissions violate the

doctrine of Uberrimae Fidei and the express provisions of the Policy.

46. Defendant's material misrepresentation and omissions render

the Policy void ab initio.
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WHEREFORE, GEICO Marine respectfully requests this Court enter
declaratory judgment declaring the Policy void ab initio, finding that it does
not provide coverage for damage to the Vessel or for the Passenger

defendants’ claims and awarding further relief deemed proper under the

circumstances.

COUNT II - BREACH OF WARRANTIES

47, GEICO Marine realleges the allegations set forth in paragraphs 1
through 35 as if fully set forth herein and further alleges as follows:

48. Admiralty law requires the strict construction of express
warranties in marine insurance contracts.

49. The breach of an express warranty by the insured releases the
insurance company from liability even if compliance with |the warranty
would not have avoided the loss.

50. The rule that express warranties in marine insurance policies
must be strictly construed is now a well-entrenched federal rule of admiralty
law which applies even the face in contrary state law.

S1. The Policy contains several warranties concerning use of the

Vessel, one of which prohibits the bareboat chartering of the Vessel.
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92. Asecond warranty in the Policy prohibits the sale or assignment
of the Vessel.

93. The Policy defines “bareboat charter” as “a legal bareboat charter
defined by the U.S. Coast Guard in the Code of Federal Regulations and any
applicable endorsement to these regulations.”

54. Coast Guard regulations define a bareboat charter as a “legally
binding document for a term of one (1) year or more under which period of
the charter, the party who leases or charters the vessel, known as the demise
or bareboat charterer, assumes legal responsibility for all the incidents of
ownership, including insuring, manning, supplying, repairing, fueling,
maintaining and operating the vessel.” 46. C.F.R. § 169.107.

95. Coverage B of the Policy which provides for boating liability
excludes coverage for bodily injury or property damage “arising out of the
following uses of the Insured Boat: Bareboat Charters, boat rental
operations, commercial towing, or any other commercial fishing operation
except for carrying fare paying passengers for charter fishing...”

56. ‘The general conditions section of the Policy provides that there
“is no coverage if the Insured Boat is used for any other commercial

purpose, including but not limited to...Bareboat Charters....”

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97. The agreement between Boating At The Pier, LLC and
Wanderlust Offshore, LLC is a legal bareboat charter.

98. At the time of the Incident, the Vessel was being operated
pursuant to the terms of a bareboat charter.

59. Because of the violation of the warranty, there is no coverage for
any claims arising out of the Incident.

60. Alternatively, the claims of the Passenger Defendants are
expressly excluded.

61. The Policy also contains a Transfer of Interest Warranty which provides
that “[cloverage provided by us will terminate automatically if you sell or assign

the Insured Boat ... without our prior written consent...”

62. The bareboat charter agreement includes an option to purchase

the Vessel.

63. Even if the purchase option has not been exercised, the bareboat

charter agreement is an assignment of the Vessel in violation of the Transfer

of Interest Warranty.

64. The word “assign” means “to transfer (one’s right, interest, or

title to property) to someone else.” assign. (n.d.) Collins Dictionary of Law.

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(2006). Retrieved October 28 2020 from https:/ /legal-

dictionary. thefreedictionary.com/assign.

65. The bareboat charter agreement assigns the right to use, control
and operate the Vessel to Wanderlust Offshore, LLC.

66. Assignment of the Vessel through the bareboat charter is a
breach of the Transfer of Interest Warranty.

WHEREFORE, GEICO Marine respectfully requests this Court enter
declaratory judgment finding that the Policy does not provide coverage for
damage to the Vessel or for the Passenger Defendants’ claims and awarding

further relief deemed proper under the circumstances.

Respectfully submitted,
WHITEBIRD, PLLC

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